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          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


DISH NETWORK           )
CORPORATION,           )
        Appellant,     )
                       )
    v.                 ) Case No. 23-1001 (consolidated
                       ) with Case No. 22-1337)
FEDERAL COMMUNICATIONS )
COMMISSION,            )
        Appellee,      )
                       )
SPACE EXPLORATION      )
HOLDINGS, LLC,         )
        Intervenor.

              STATEMENT OF ISSUES TO BE RAISED

     DISH Network Corporation (“DISH”), pursuant to the Court’s

Order dated Jan. 5, 2023, hereby submits its Statement of Issues to be

Raised.

     In this Appeal, DISH, has sought judicial review of the final order

of the Federal Communications Commission (“FCC” or “the

Commission”) captioned In the Matter of Space Exploration Holdings,

LLC; Request for Orbital Deployment and Operating Authority for the

SpaceX Gen2 NGSO Satellite System, Order and Authorization, IBFS
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File Nos. SAT-LOA-20200526-00055 and SAT-AMD-20210818-00105,

Call Sign S3069, FCC 22-91 (rel. Dec. 1, 2022). (the “Order”).

     The Order authorizes in part Space Exploration Holdings, LLC

(“SpaceX”) to deploy and operate up to 7,500 satellites as part of its

“second-generation” (“Gen2”) Starlink system, and allows the system to

use the 12.2-12.7 GHz (“12 GHz”) frequency band for its space-to-Earth

operations. See Order ¶ 45. The Order leaves millions of families

receiving satellite television service from DISH in the same frequency

band vulnerable to interference.

     The issues that DISH intends to raise before the Court in this case

are that the Order:

  1. Exceeds the FCC’s statutory authority and contravenes the

     Communications Act, 47 U.S.C. § 151 et. seq.; among other things,

     the Order does not comply with the agency’s statutory directive to

     protect users of the electromagnetic spectrum, see 47 U.S.C. §

     303(c), (f);

  2. contravenes the Administrative Procedure Act, 5 U.S.C. § 551 et.

     seq.; among other things, the Order is arbitrary, capricious, and

     unreasoned, as it is internally contradictory, violates the agency’s



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     own rules, refuses to consider a material aspect of the problem,

     and tries to remedy the Order’s own ill effects by a facially

     ineffective condition, all of which constitute an abuse of the

     agency’s discretion;

  3. violates the FCC’s own rules; among other things, the Order

     refused to allow DISH to examine SpaceX’s data files, which

     SpaceX had shared with the Commission, except after the decision

     was made, and did not require that SpaceX procure a favorable or

     qualified favorable ITU finding “prior to the initiation of service,”

     as required by 47 C.F.R. § 25.146;

  4. contravenes the Constitution; among other things, the Order

     delegates to the ITU and to SpaceX itself the FCC’s own statutory

     responsibility to ensure that SpaceX’s own operations do not cause

     unacceptable interference, without any substantive oversight by

     the FCC, all in violation of the Constitution’s Article I and the

     nondelegation doctrine.




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                                   Respectfully submitted,

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Feb. 3, 2023




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                     CERTIFICATE OF SERVICE

     I hereby certify that on Feb. 3, 2023 I electronically filed the

foregoing document with the United States Court of Appeals for the

D.C. Circuit by using the CM/ECF system. I certify that the counsel of

record for Appellee and Intervenor are registered as ECF Filers and

that they will be served by the CM/ECF system.



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